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<< ( Alexandria Neuro Center
~\( and Headache Clinic

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Atsham Naalpandian, M.D., FAAN M: Riad Halmurad, M.D
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Electromyography and Eleatrodiagnosts Electromyography and Electrodiognosts
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Neurology and Psychiaty Hamas Amepcan Board
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July 31, 2018

RE: Jerry McKinney #94489

DOB: 03/29/53
To Whom It May Concer,
The patient has history of bilateral hemispheric CVA. He has been on aspirin. He has multiple
neurological and medical conditions. He has not been able to function on full active condition.
He needs some sedentary type work. The patient has hypersensitivity to loud noises so he has not

been able to shoot. He also has some cervical spondylosis and carpal tunnel syndrome. His
coordination is not very good.

There is no indication to do surgery on him. Conservative approach is the best.
_ Ifyou have any further questions, please feel free to contact me.

Sincerely,

M. Riad Hajmurad, MLD,
MRH/rmd

EXHIBIT

1010 Bayou Trace Dr,
Alexandria, LA 71803

- 318) 473-8304 coc
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